  8:22-cv-00420-BCB-SMB Doc # 50 Filed: 01/31/24 Page 1 of 2 - Page ID # 588




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA
DENISHA M. SEALS,                       )
     PLAINTIFF                          )     CASE NO. 8:22-cv-420
                                        )
VS.                                     )     PLAINTIFF’S NOTICE OF
                                        )     SERVING NON-RETAINED
BOARD OF REGENTS OF THE                 )     EXPERT DISCLOSURE
UNIVERSITY OF NEBRASKA,                 )
MARGARETTE CHRISTENSEN, PHD.,)
     DEFENDANTS                )
                               )
                               )
                               )

       COME NOW the Plaintiff, pursuant to Fed. R. Civ. P. 26(a)(2)(C), and provide
notice to the Court and to Defendants that on January 31, 2024, they served Plaintiff’s
Non-Retained Expert Disclosure, by sending the same via email, to Defendants, by and
through her attorney, Tara A. Stingley, tstingley@clinewilliams.com.

      Dated January 31, 2024.
                                              Respectfully submitted,
                                               ___/s/ John D. Cartier_/s/__
                                              John D. Cartier #26307
                                              Cartier Law
                                              PO Box 5241
                                              Lincoln, Nebraska 68505
                                              (954) 319-9832
                                              johncartierlaw@gmail.com
  8:22-cv-00420-BCB-SMB Doc # 50 Filed: 01/31/24 Page 2 of 2 - Page ID # 589



                             CERTIFICATE OF SERVICE
      I, John D. Cartier, hereby certify that a true and correct copy of the foregoing
was served on this 31st day of January, 2024, via email to the following:

      Tara A. Stingley
      tstingley@clinewilliams.com

                                           ___/s/ John D. Cartier_/s/__




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